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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF IDAHO

WESTERN WATERSHEDS PROJECT,         )
et al.,                             )        Case No. 1:16-cv-00083-BLW
                                    )
      Plaintiffs,                   )
                                    )        DEFENDANTS’ STATUS
v.                                  )        REPORT
                                    )
U.S. DEPARTMENT OF THE              )
INTERIOR, et al.,                   )
                                    )
      Defendants.                   )
____________________________________)




Defendants’ Status Report
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       Defendants U.S. Department of the Interior et al. hereby submit this status report

pursuant to the Court’s May 24, 2021 Order, ECF No. 283.

       The background of this case is explained in Defendants’ May 10, 2021 Status Report,

ECF No. 282, and Defendants provided further updates in their subsequent status reports. See

ECF Nos. 285, 286, 290, 293, 294, 298 & 299. The current status of the U.S. Bureau of Land

Management’s (“BLM”) and the U.S. Forest Service’s (“Forest Service”) evaluation of Sage

Grouse policy is discussed below.

       BLM is currently evaluating three separate aspects of Sage Grouse policy. First, BLM is

evaluating how to proceed with a further process for evaluating a proposed withdrawal of lands

from location and entry under the United States mining laws in response to the Court’s order

granting partial summary judgment to Plaintiffs on that claim and remanding the action back to

the Department of the Interior. See Feb. 11, 2021 Mem. Decision and Order, ECF No. 264.

BLM published a notice in the Federal Register announcing that the Secretary of the Interior is

re-initiating a new National Environmental Policy Act (“NEPA”) process to evaluate a proposal

to withdraw approximately 10 million acres of land from location and entry under the mining

laws in order to conserve Sage Grouse habitat. See 86 Fed. Reg. 44,742 (Aug. 13, 2021). The

next step in the process will be the circulation of a draft environmental impact statement.

       Second, BLM is evaluating existing policy regarding compensatory mitigation, which is

challenged in Plaintiffs’ Sixth Claim. See First Supp. Compl. ¶¶ 188-93. That claim is directed

towards policies initiated during the prior administration and set forth in certain Secretary’s

orders and guidance documents, including Secretary’s Order (“SO”) Nos. 3349 and 3360,

Solicitor’s Office M-Opinion M-37046 and Instruction Memorandum (“IM”) 2019-018. Id. ¶

189. Following her confirmation, Secretary of the Interior Debra Haaland issued Secretary’s




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Order No. 3398 (Apr. 16, 2021), available at: https://www.doi.gov. That order rescinds SO Nos.

3349 and 3360. Id. § 4. SO 3398 also directs Department of the Interior staff to “review and

revise as necessary all policies and instructions that implemented” the SOs revoked by the order.

Id. § 5. On July 12, 2021, BLM issued IM 2021-038, which rescinded IM 2019-018. See ECF

No. 286-1. On April 15, 2022, the Solicitor of the U.S. Department of the Interior issued M-

Opinion M-37075 withdrawing M-37046 and reinstating M-37039 regarding compensatory

mitigation. See ECF No. 298-1.

       Third, BLM is evaluating the Greater Sage Grouse Resource Management Plan

Amendments issued in 2019 (the “2019 Plans”), which were enjoined by the Court, see Oct. 16,

2019 Mem. Decision and Order, ECF No. 189, as well as the six Supplemental Environmental

Impact Statements and records of decision issued at the end of 2020 and the beginning of 2021,

respectively. On November 22, 2021, the U.S. Bureau of Land Management’s Notice of Intent

to Amend Land Use Plans Regarding Greater Sage-Grouse Conservation and Prepare Associated

Environmental Impact Statements was published in the Federal Register. See 86 Fed. Reg.

66,331 (Nov. 22, 2021). This new planning process will address inclusion of any new

information and revisit the deficiencies previously identified by the Court. Virtual public

scoping meetings took place on January 11 and January 24, 2022, and the scoping period closed

on February 7, 2022. BLM continues to review comments received and will publish a Scoping

Report soon.

       The Forest Service also is evaluating Sage Grouse policy. The Forest Service continues

to work on a planning process that was initiated in 2017. The Forest Service issued a Final EIS

and draft records of decision for Proposed Land Management Plan Amendments for pre-

decisional objections on July 31, 2019. See https://www.govinfo.gov/content/pkg/FR-2019-07-




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31/pdf/2019-16283.pdf. Under Forest Service regulations, the Final EISs and draft records of

decision were subject to a pre-decisional objection process. See 36 C.F.R. 219 subpart B. The

period for filing objections closed on October 1, 2019, and the Forest Service sent responses to

the objections on August 31, 2020. It is uncertain when the Forest Service will issue decisions.

       In light of the foregoing, Defendants request that these proceedings continue to be put on

hold for an additional sixty days, at which point Defendants will provide a further update

regarding the agencies’ respective policies and planning processes with respect to Sage Grouse

conservation. The agencies may take actions, or initiate planning, that would obviate the need to

proceed to the merits of the claims regarding compensatory mitigation policy and the 2019 Plans.

Allowing the agencies this additional time would preserve the parties’ and the Court’s resources

by avoiding potentially unnecessary litigation. Courts have broad discretion to stay proceedings

and to defer judicial review in the interest of justice and efficiency. See Air Line Pilots Ass’n v.

Miller, 523 U.S. 866, 879 n.6 (1998) (“[T]he power to stay proceedings is incidental to the

power inherent in every court to control the disposition of the causes on its docket with economy

of time and effort for itself, for counsel, and for litigants.”) (quoting Landis v. North Am. Co.,

299 U.S. 248, 254 (1936)); see also CMAX, Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962).

       Respectfully submitted this 8th day of July, 2022,

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